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                      EXHIBIT A
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January 5, 2024


Lordstown Motor Corporation
Melissa Leonard
38555 Hills Tech Drive
Farmington Hills MI 48331


           Re: Lordstown Motor Corporation
               USBC Case No. 23-10831


Dear Melissa Leonard:

Enclosed please find Kurtzman Carson Consultants' ("KCC") invoice for the period November 1, 2023 to
November 30, 2023 in the amount of $14,552.96 for the above referenced matter. Pursuant to our services
agreement, KCC's invoice is due upon receipt.

If you have any questions, please contact me at (310) 751-1803 or egershbein@kccllc.com.


Sincerely,
Kurtzman Carson Consultants LLC




Evan Gershbein
EVP Restructuring




Enclosures




Kurtzman Carson Consultants LLC 222 N Pacific Coast Hwy, El Segundo, CA, 90245 Phone 310-823-9000 Fax 310-823-9133 kccllc.com
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  January 5, 2024


  Copy Parties
  Morgan L. Patterson
  Womble Bond Dickinson (US) LLP
  1313 North Market Street, Suite 1200
  Wilmington DE 19801

  Fan B. He
  White & Case LLP
  200 South Biscayne Boulevard, Suite 4900
  Miami FL 33131

  David M. Turetsky
  White & Case, LLP
  1221 Avenue of the Americas
  New York NY 10020

  Benjamin Hackman
  Office of the United States Trustee Delaware
  844 King St Ste 2207
  Lockbox 35
  Wilmington DE 19801

  David M. Fournier
  Troutman Pepper Hamilton Sanders LLP
  Hercules Plaza, Suite 5100
  1313 N. Market Street
  Wilmington DE 19801

  Marcy J. McLaughlin Smith
  Troutman Pepper Hamilton Sanders LLP
  Hercules Plaza, Suite 5100
  1313 N. Market Street
  Wilmington DE 19801

  Francis J. Lawall
  Troutman Pepper Hamilton Sanders LLP
  3000 Two Logan Square 18th & Arch Streets
  Philadelphia PA 19103-2799

  Michael Port
  38555 Hills Tech Drive
  Farmington Hills MI 48331



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  January 5, 2024


  Copy Parties
  Amanda Ciccone
  38555 Hills Tech Drive
  Farmington Hills MI 48331

  Kathy McDougall
  38555 Hills Tech Drive
  Farmington Hills MI 48331

  Deborah Kovsky-Apap
  Troutman Pepper Hamilton Sanders LLP
  875 Third Avenue
  New York NY 10022




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                                                                          Kurtzman Carson Consultants LLC

  Account Number                                   71001FA                                                                              Invoice Date                   January 5, 2024

  Invoice Number                                   US_KCC2647731                                                                        Due Date                       Due upon receipt



                                                                                           Lordstown Motor Corporation
                                                                                                           Summary


                                                                              Description                                                    Amount

                                                               Hourly Fees
                                                               Hourly Fees Charged                                                                   $14,552.96

                                                               Total of Hourly Fees                                                                   $14,552.96


                                                               Expenses
                                                               Expenses                                                                                      $0.00

                                                               Total Expenses                                                                                $0.00


                                                               Invoice Subtotal                                                                       $14,552.96
                                                               Sales and Use Tax                                                                               0.00

                                                               Total Invoice                                                                       $14,552.96




____   ____   ____   ____   ____   ____   ____   ____   ____    ____
                                                                        Please
                                                                       ____
                                                                                detach and return this portion of the statement with your check to KCC.
                                                                           ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____   ____

                                                                       Please reference your Account Number and Invoice Number on your Remittance.


Account Number                                                     71001FA                         Check Payments to:                                      Wire Payments to:

Invoice Number                                      US_KCC2647731                                  KCC Global Administration - Restructuring               KCC Global Administration - Restructuring
                                                                                                   Department 2211                                         Grasshopper Bank, N.A.
Total Amount Due                                                $14,552.96
                                                                                                   PO Box 4110                                             261 5th Avenue Suite 610
                                                                                                   Woburn, MA 01888-4110                                   New York, NY 10016
Amount Paid                                $
                                                                                                                                                           Account # 02329451396
                                                                                                                                                           FED ABA # 026015024
US_KCC2647731 Lordstown Motor Corporation                                                                                                                                                     Page 4 of 10
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                                            Kurtzman Carson Consultants LLC
                                                      11/01/2023 - 11/30/2023
                                                  Total Hourly Fees by Employee

Initial       Employee Name                                            Position Type     Hours          Rate           Total
AAE           Andres Estrada                                           SOL                 33.30      $201.75       $6,718.25
ASK           Ashley Kuarasingh                                        SOL                  0.20      $193.75         $38.75
JCN           Jacqueline Conklin                                       SOL                  1.00      $193.75        $193.75
JEE           James Lee                                                SEC                  4.80      $201.75        $968.39
JMG           Jennifer Westwood                                        SOL                 15.60      $193.75       $3,022.50
JNG           Jennifer Ngo                                             SEC                 10.00      $201.75       $2,017.48
KVR           Kevin Martin                                             SEC                  7.90      $201.75       $1,593.84


                                                                                           Total                $14,552.96




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                                              Kurtzman Carson Consultants LLC
                                                                        11/01/2023 - 11/30/2023

                                                                                 Time Detail

    Date       Employee                                               Description                           Position Type       Category           Hours
   11/1/2023      AAE      Review DS Order and prepare solicitation comments                                     SOL             Solicitation         2.80
   11/1/2023      AAE      Call with counsel regarding UCC and Equity Committee letters and solicitation         SOL             Solicitation         0.10
                           timing
   11/1/2023      AAE      Update voting amount spreadsheet with counsel comments                                SOL             Solicitation         2.80
   11/1/2023      AAE      Review and finalize voting certification                                              SOL             Solicitation         0.30
   11/1/2023      KVR      Communication with D Kim re: solicitation mailing timeline and deadline for           SEC             Solicitation         0.50
                           final solicitation materials to ensure service completed by 11/8
   11/1/2023      KVR      Communication with A Estrada re: recent shareholder file and column with              SEC             Solicitation         0.40
                           number of shares for registered holder custom ballots

                                                                                                                 Total for 11/1/2023                 6.90
   11/2/2023      AAE      Review Plan and setup voting classes in KCC CaseView                                  SOL             Solicitation         0.60
   11/2/2023      AAE      Call with counsel regarding solicitation update and timing                            SOL             Solicitation         0.20
   11/2/2023      AAE      Coordinate with KCC team on final solicitation documents, updated timing and          SOL             Solicitation         0.30
                           deadlines
   11/2/2023      AAE      Review precedent of letters directing creditors to public access website for          SOL             Solicitation         1.00
                           solicitation materials and prepare draft letter
   11/2/2023      AAE      Update voting amount spreadsheet with new filed claims and aggregate voting           SOL             Solicitation         2.00
                           amounts
   11/2/2023       JEE     Review solicitation package items for class 7 equity holders                          SEC             Solicitation         0.60
   11/2/2023       JEE     Emails with case team re: solicitation package questions                              SEC             Solicitation         0.30


                                                                                                                 Total for 11/2/2023                 5.00
   11/3/2023      AAE      Review solicitation documents related to KCC contact information and prepare          SOL             Solicitation         1.70
                           comments
   11/3/2023      AAE      Coordinate with KCC securities team on solicitation notices and ballots               SOL             Solicitation         0.70
   11/3/2023      AAE      Finalize and importing voting amount spreadsheet into CaseView                        SOL             Solicitation         1.20
   11/3/2023       JEE     Review draft solicitation documents from counsel                                      SEC             Solicitation         2.30
   11/3/2023      JNG      Review final solicitation materials and provide comments to the Class 7 master        SEC             Solicitation         1.20
                           and beneficial ballots
   11/3/2023      JNG      Review solicitation procedures and all documents to be included to equity             SEC             Solicitation         0.80
                           holders
   11/3/2023      JNG      Team meeting re solicitation launch and materials needed for Class 7 equity           SEC             Solicitation         0.30
                           holders

                                                                                                                 Total for 11/3/2023                 8.20
   11/5/2023      AAE      Import voting records into CaseView and generate ballot records                       SOL             Solicitation         1.40
   11/5/2023      AAE      Finalize voting classes and prepare for import into CaseView                          SOL             Solicitation         1.80
   11/5/2023      JMG      Setup eballot website in KCC CaseView                                                 SOL             Solicitation         1.20


                                                                                                                 Total for 11/5/2023                 4.40
   11/6/2023       JEE     Additional review and comments to draft solicitation documents                        SEC             Solicitation         1.00
   11/6/2023      JNG      Team meeting re solicitation mailing and final draft edits                            SEC             Solicitation         0.40


                                                                                                                 Total for 11/6/2023                 1.40
   11/7/2023      AAE      Review solicitation procedures and ballots instructions related to debtor by          SOL             Solicitation         1.20
                           debtor tabulation
US_KCC2647731 Lordstown Motor Corporation                                                                                                       Page 6 of 10
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                                             Kurtzman Carson Consultants LLC
                                                                     11/01/2023 - 11/30/2023

                                                                                Time Detail

    Date       Employee                                          Description                               Position Type       Category           Hours
   11/7/2023      AAE      Correspondence with counsel re to debtor by debtor tabulation                        SOL             Solicitation         0.60
   11/7/2023      AAE      Coordinate with KCC team on eBallot setup                                            SOL             Solicitation         0.30
   11/7/2023      JMG      Setup eballot website in KCC CaseView                                                SOL             Solicitation         3.10
   11/7/2023      JNG      Team meeting re status of solicitation mailing and remaining electronic mail         SEC             Solicitation         0.30
                           service to equity holders

                                                                                                                Total for 11/7/2023                 5.50
   11/8/2023      AAE      Coordinate with KCC team on finalizing electronic balloting setup and test           SOL             Solicitation         3.40
                           ballots
   11/8/2023      AAE      Quality control review of eBallot portal and website updates                         SOL             Solicitation         0.30
   11/8/2023      AAE      Coordinate with KCC team on open solicitation items                                  SOL             Solicitation         1.20
   11/8/2023      JMG      Setup plan, voting classes, and ballot questions in KCC CaseView                     SOL             Solicitation         0.50
   11/8/2023      JMG      Setup eballot website in KCC CaseView                                                SOL             Solicitation         9.90
   11/8/2023      KVR      Communication with A Kuarsingh re: request to send DTC Disclosure                    SEC             Solicitation         0.40
                           Statement and Plan for announcing Class 7 voting event
   11/8/2023      JNG      Team meeting re solicitation mailing to equity holders                               SEC             Solicitation         0.20


                                                                                                                Total for 11/8/2023                15.90
   11/9/2023      AAE      Review voting amount spreadsheet for voting amounts related to counsel's             SOL             Solicitation         0.10
                           question
   11/9/2023      AAE      Review and update ballot questions in KCC CaseView                                   SOL             Solicitation         0.40
   11/9/2023      AAE      Follow up with KCC team on open solicitation items                                   SOL             Solicitation         0.20
   11/9/2023      ASK      Respond to inquiry re solicitation                                                   SOL             Solicitation         0.20
   11/9/2023      JMG      Setup plan, voting classes, and ballot questions in KCC CaseView                     SOL             Solicitation         0.90
   11/9/2023      JNG      Monitor inbox for inquiries and material request re Class 7 materials                SEC             Solicitation         1.20


                                                                                                                Total for 11/9/2023                 3.00
  11/10/2023      AAE      Review KCC team updates to claim amounts and natures and incorporate into            SOL             Solicitation         0.60
                           voting amount spreadsheet
  11/10/2023      AAE      Prepare and send voting amount spreadsheet and comments to counsel                   SOL             Solicitation         1.80
  11/10/2023      JNG      Monitor inbox for inquiries and material request re Class 7 materials                SEC             Solicitation         0.30
  11/10/2023      JNG      Team meeting re status of solicitation event and inquiries                           SEC             Solicitation         0.10


                                                                                                                Total for 11/10/2023                2.80
  11/12/2023      KVR      Communication with S Kaul re: KCC declaration and declarant for class action         SEC             Solicitation         0.40
                           shareholder service

                                                                                                                Total for 11/12/2023                0.40
  11/13/2023      KVR      Call with counsel re: declaration and KCC declarant for class action                 SEC             Solicitation         0.50
                           shareholder service
  11/13/2023      KVR      Forwarded Disclosure Statement and Plan to R Giordano at DTC Mandatory               SEC             Solicitation         0.30
                           Reorg team per request
  11/13/2023      JNG      Monitor inbox for inquiries and material request re Class 7 materials                SEC             Solicitation         0.40
  11/13/2023      JNG      Team meeting re status of solicitation event and inquiries                           SEC             Solicitation         0.20


                                                                                                                Total for 11/13/2023                1.40
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                                             Kurtzman Carson Consultants LLC
                                                                     11/01/2023 - 11/30/2023

                                                                                Time Detail

    Date       Employee                                           Description                               Position Type       Category           Hours
  11/14/2023       JEE     Respond to inquiries from nominees re: master ballots for voting                      SEC             Solicitation         0.60
  11/14/2023      KVR      Communication w/D Kim re: company can ignore letter from Broadridge                   SEC             Solicitation         0.60
                           generated prior to October 31 Voting Record Date; forward screen shot of
                           Broadridge ICS Online Campaign with summary of solicitation job with October
                           31, 2023 voting record date

                                                                                                                 Total for 11/14/2023                1.20
  11/16/2023      AAE      Coordinate with KCC team on Foxconn Class 7 ballots                                   SOL             Solicitation         0.20
  11/16/2023      AAE      Correspondence with counsel to Foxconn re voting and non-voting claims                SOL             Solicitation         0.30
  11/16/2023      AAE      Review Foxconn claims/schedules and classifications for voting on the plan            SOL             Solicitation         1.10
                           and prepare summary
  11/16/2023      KVR      Review of inquiry from F Simard at BNC, forward Class 7 Equity solicitation           SEC             Solicitation         0.50
                           materials

                                                                                                                 Total for 11/16/2023                2.10
  11/17/2023      JNG      Team meeting re solicitation mailing status and ballot inbox monitoring               SEC             Solicitation         0.30
                           procedures

                                                                                                                 Total for 11/17/2023                0.30
  11/20/2023      AAE      Review ballots input into KCC CaseView                                                SOL             Solicitation         0.50
  11/20/2023      AAE      Prepare voting summary, debtor summary and detailed reports for counsel               SOL             Solicitation         1.50
  11/20/2023      KVR      Review of Lordstown Ballot email box, communication with A Estrada no                 SEC             Solicitation         0.70
                           master ballots received and not anticipated until 12/12 voting deadline
  11/20/2023      JNG      Correspond with case team re current vote summary for equity holders in Class         SEC             Solicitation         0.30
                           7
  11/20/2023      JNG      Team meeting re upcoming solicitation deadline                                        SEC             Solicitation         0.10


                                                                                                                 Total for 11/20/2023                3.10
  11/21/2023      JNG      Monitor ballot inbox for inquiries and incoming Class 7 ballots                       SEC             Solicitation         0.60
  11/21/2023      JNG      Team meeting re upcoming solicitation deadline                                        SEC             Solicitation         0.20


                                                                                                                 Total for 11/21/2023                0.80
  11/22/2023      KVR      Communication with A Estrada that Foxconn should contact their custodian for          SEC             Solicitation         0.40
                           their Class 7 solicitation materials
  11/22/2023      JNG      Team meeting re upcoming deadline and hearing preparations                            SEC             Solicitation         0.20


                                                                                                                 Total for 11/22/2023                0.60
  11/27/2023      AAE      Prepare updated voting summary for counsel                                            SOL             Solicitation         1.00
  11/27/2023      AAE      Review ballots input into KCC CaseView                                                SOL             Solicitation         0.30
  11/27/2023      KVR      Review of Lordstown ballot email box for DTC inquiries and master ballot              SEC             Solicitation         1.00
                           submissions
  11/27/2023      JNG      Monitor ballot inbox for inquiries from nominees and provide solicitation             SEC             Solicitation         0.30
                           materials as requested
  11/27/2023      JNG      Team meeting re solicitation deadline and material request from nominees              SEC             Solicitation         0.20


                                                                                                                 Total for 11/27/2023                2.80


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                                             Kurtzman Carson Consultants LLC
                                                                     11/01/2023 - 11/30/2023

                                                                                Time Detail

    Date       Employee                                           Description                                Position Type       Category           Hours
  11/28/2023      KVR      Review of Lordstown ballot email box for DTC inquiries and master ballot               SEC             Solicitation         0.50
                           submissions
  11/28/2023      JNG      Monitor ballot inbox for inquiries from nominees and provide solicitation              SEC             Solicitation         0.50
                           materials as requested

                                                                                                                  Total for 11/28/2023                1.00
  11/29/2023      AAE      Prepare updated voting summary for counsel                                             SOL             Solicitation         1.00
  11/29/2023      AAE      Coordinate with KCC team on solicitation to Class 7 holders                            SOL             Solicitation         0.10
  11/29/2023      AAE      Review ballots input into KCC CaseView                                                 SOL             Solicitation         0.30
  11/29/2023      KVR      Review of Lordstown ballot email box for DTC inquiries and master ballot               SEC             Solicitation         0.50
                           submissions
  11/29/2023      KVR      Review of inquiry from counsel regarding equity solicitation service, provided         SEC             Solicitation         0.70
                           screenshots of Broadridge ICS Client site with confirmation of receipt of Class
                           7 solicitation materials and mailing of solicitation materials
  11/29/2023      KVR      Review of Broadridge ICS Client site for DTC No 0019 Jefferies party counts,           SEC             Solicitation         0.50
                           service methods and contact, forwarded to counsel for confirmation equity
                           committee chairman served and who to contact at Jefferies for additional
                           questions
  11/29/2023      JNG      Monitor ballot inbox for inquiries from nominees and provide solicitation              SEC             Solicitation         0.40
                           materials as requested

                                                                                                                  Total for 11/29/2023                3.50
  11/30/2023      JCN      Administrative quality control review of ballots input into KCC CaseView               SOL             Solicitation         1.00
  11/30/2023      JNG      Monitor ballot inbox for inquiries from nominees and provide solicitation              SEC             Solicitation         0.70
                           materials as requested
  11/30/2023      JNG      Respond to nominee inquiries re solicitation materials                                 SEC             Solicitation         0.80


                                                                                                                  Total for 11/30/2023                2.50

                                                                                                                  Total Hours                       72.80




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                                            Kurtzman Carson Consultants LLC
                                                    11/01/2023 - 11/30/2023
                                                          Expenses
Description                                                                        Units               Rate     Amount



                                                                                           Total Expenses




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